Case 4:17-cv-01046 Document 1-5 Filed on 04/05/17 in TXSD Page 1 of 7




                  Exhibit D
      Case 4:17-cv-01046 Document 1-5 Filed on 04/05/17 in TXSD Page 2 of 7
                                                                                                     3/28/2017 1:48:19 PM
                                                                                Chris Daniel - District Clerk Harris County
                                                                                                  Envelope No. 16117546
                                                                                                       By: Bristalyn Daniels
                                                                                             Filed: 3/28/2017 1:48:19 PM

                                     CAUSE NO. 2017-08824


SONIA PARKER                                                 IN THE DISTRICT COURT
     Plaintiff

vs.                                                          165th JUDICIAL DISTRICT

MIGUEL ALVAREZ AND
SOSA ENTERPRISES CORP.
     Defendants.                                             OF HARRIS COUNTY, TEXAS




           DEFENDANT SOSA ENTERPRISES CORP.'S ORIGINAL ANSWER

         COMES NOW, Defendant Sosa Enterprises Corp. ("Defendant") and files this Original

Answer and in support shows:


                                                 I.


         Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant enters a general

denial of each and every allegation in Plaintiff's Original Petition and demand strict proof

thereof.

                                                 II.

         Defendant request that Plaintiff respond to the disclosure requests contained in TEX. K

Civ. P. 194.2(a)-(1).

                                                Ill.

         The injuries and damages claimed by Plaintiff were due, in whole or in part, to events

and/or conditions existing before or arising subsequent to the event made the basis of this lawsuit

and were not caused by any acts or omissions of Defendant.
   Case 4:17-cv-01046 Document 1-5 Filed on 04/05/17 in TXSD Page 3 of 7




                                                IV.

       Pleading further, Defendant says other persons were responsible for this incident and the

injuries and damages claimed by Plaintiff.

                                                V.

       Plaintiff has failed to mitigate his alleged damages.

                                                VI.

       Plaintiff's acts or omissions contributed to or caused the incident in question.

                                               VII.

       On the occasion in question, Plaintiff failed to exercise that degree of care which a person

of ordinary care would have exercised in the same or similar circumstances and that such failure

was the sole cause and/or proximate cause of the alleged injuries.

                                               VIII.

       Defendant invokes the limitations contained in the Texas C.P.R.C. § 41.0105 as to the

recovery of medical and health care expenses. Plaintiff's recovery is limited by the amounts of

reasonable and necessary medical expenses which were actually paid and incurred rather than the

total amount of medical expenses charged.



       Defendant is entitled to a credit against any medical expenses, damages awarded for

amounts written off, discounted or not actually paid and incurred and for which Plaintiff will no

longer be responsible.

                                                X.

       WHEREFORE, PREMISES CONSIDERED, Defendant Sosa Enterprises Corp. prays

that upon final trial hereof the Court enter an order that Plaintiff take nothing from Defendant
   Case 4:17-cv-01046 Document 1-5 Filed on 04/05/17 in TXSD Page 4 of 7




and for such other and further relief to which Defendant may be justly entitled.

                                             Respectfully submitted,

                                             /s/ Barham Lewis
                                             Barham Lewis
                                             SBN: 12277400
                                             Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
                                             One Allen Center
                                             500 Dallas Street, Suite 3000
                                             Houston, Texas 77002
                                             Phone: 713.655.0855
                                             Fax: 713.655.0020
                                             barham JewisAodnss .corn
                                             ATTORNEY FOR DEFENDANT SOSA
                                             ENTERPRISES CORP.




                                CERTIFICATE OF SERVICE

         hereby certify that on this 28th day of March, 2017, a true and correct copy of the
foregoing document was forwarded to the following by certified mail, return receipt requested:

Jeffery T. Roebuck
ROEBUCK, THOMAS, ROBUCK & ADAMS
476 Oakland Street
Beaumont, Texas 77701
jeff@roebuckthomas.com
Tel: 409-892-8227
Fax: 409-892-8318
                                                  /s/ Barham Lewis
                                                  Barham Lewis
      Case 4:17-cv-01046 Document 1-5 Filed on 04/05/17 in TXSD Page 5 of 7
                                                                                                     3/31/2017 1:56:41 PM
                                                                                Chris Daniel - District Clerk Harris County
                                                                                                  Envelope No. 16200346
                                                                                                       By: Justin Fitzgerald
                                                                                             Filed: 3/31/2017 1:56:41 PM

                                     CAUSE NO. 2017-08824


SONIA PARKER                                                  IN THE DISTRICT COURT
     Plaintiff

vs.                                                           165th JUDICIAL DISTRICT

MIGUEL ALVAREZ AND
SOSA ENTERPRISES CORP.
     Defendants.                                              OF HARRIS Ot NTY, TEXAS




                 DEFENDANT MIGUEL ALVAREZ' ORIGL ANSWER

         COMES NOW, Defendant Miguel Alvarez ("Defe( t") and files this Original Answer
                                                          C(eo>
and in support shows:




                                             F
         Pursuant to Rule 92 of the Texas !Wes of Civil Procedure, Defendant enters a general

denial of each and every allegatiot‘ laintiff s Original Petition and demand strict proof

thereof.                           0


                              0
        Defendant reque,hat Plaintiff respond to the disclosure requests contained in TEx. R.

Civ. P. 194.2(a)-(l
                  0                              HI.

         The injuries and damages claimed by Plaintiff were due, in whole or in part, to events

and/or conditions existing before or arising subsequent to the event made the basis of this lawsuit

and were not caused by any acts or omissions of Defendant.
   Case 4:17-cv-01046 Document 1-5 Filed on 04/05/17 in TXSD Page 6 of 7




                                                 IV.

       Pleading further, Defendant says other persons were responsible for this incident and the

injuries and damages claimed by Plaintiff.

                                                  V.

       Plaintiff has failed to mitigate his alleged damages.

                                                 VI.

       Plaintiff's acts or omissions contributed to or caused the incid        question.

                                                 VII.

       On the occasion in question, Plaintiff failed to exercis      t degree of care which a person

of ordinary care would have exercised in the same or st         circumstances and that such failure

was the sole cause and/or proximate cause of the all d injuries.



       Defendant invokes the limitations c        fined in the Texas C.P.R.C. § 41.0105 as to the

recovery of medical and health care e        ses. Plaintiff's recovery is limited by the amounts of

reasonable and necessary medical Zenses which were actually paid and incurred rather than the

total amount of medical expengtiharged.

                                                 IX.

       Defendant i        'led to a credit against any medical expenses, damages awarded for

amounts written      discounted or not actually paid and incurred and for which Plaintiff will no

longer be resft hsible.

                                                  X.

       WHEREFORE, PREMISES CONSIDERED, Defendant Miguel Alvarez prays that

upon final trial hereof the Court enter an order that Plaintiff take nothing from Defendant and for
   Case 4:17-cv-01046 Document 1-5 Filed on 04/05/17 in TXSD Page 7 of 7




such other and further relief to which Defendant may be justly entitled.

                                             Respectfully submitted,

                                             /s/ Barham Lewis
                                             Barham Lewis
                                             SBN: 12277400
                                             Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
                                             One Allen Center
                                             500 Dallas Street, Suite 3000
                                             Houston, Texas 77002
                                             Phone: 713.655.0855
                                             Fax: 713.655.0020
                                             barham.lewis odnss.c
                                             ATTORNEY FO;41 ENDANT SOSA
                                             ENTERPRISES 1         11 P.
                                                              O


                                CERTIFICATE 9tieRVICE
                                           `Itz'
       I hereby certify that on this 31st day        arch, 2017, a true and correct copy of the
foregoing document was forwarded to the fok        g by certified mail, return receipt requested:

Jeffery T. Roebuck
ROEBUCK, THOMAS, ROBUCK &                   MS
476 Oakland Street      J`)
Beaumont, Texas 77701
eff@roebuckthomas.com
Tel: 409-892-8227
Fax: 409-892-8318
                                                  /s/ Barham Lewis
                                                  Barham Lewis
